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 6                              UNITED STATES DISTRICT COURT
 7                                      DISTRICT OF NEVADA
 8                                                 ***
 9   DENISE ABBEY, individually and as special           Case No. 3:13-CV-00347-LRH-VPC
     administrator of the Estate of Micah Abbey,         C/A No. 15-15863
10
                                  Plaintiff/Appellant,
11
            v.                                           ORDER ON MANDATE
12
     CITY OF RENO; et al.,
13
                               Defendants/Appellees
14
     and
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     BRAD DEMITROPOULIS and BOARD OF
16   REGENTS FOR THE NEVADA SYSTEM OF
     HIGHER EDUCATION ON BEHALF OF THE
17   UNIVERSITY OF NEVADA, RENO,
18                                       Defendants.
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20          The above-entitled cause, having been before the United States Court of Appeals for the
21   Ninth Circuit, and the Court of Appeals having on July 5, 2017, issued its mandate affirming the
22   judgment, and the Court being fully advised in the premises, NOW, THEREFORE, IT IS
23   ORDERED that the mandate be spread upon the records of this Court.
24          DATED this 14th day of July, 2017.
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26                                                       LARRY R. HICKS
                                                         UNITED STATES DISTRICT JUDGE
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